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                                                      June 24, 2020


                              REQUEST FOR ISSUANCE OF SUBPOENA

  By FINRA DR Portal

  Ms. Donna Greenspan Solomon, Esq., Chair
  c/o Lisa Lasher, FINRA Case Administrator
  FINRA Dispute Resolution
  Boca Center Tower 1
  5200 Town Center Circle, Suite 200
  Boca Raton, FL 33486

            Re: Beverley B. Schottenstein v. J.P. Morgan Securities,
                LLC, et al. (FINRA Dispute Resolution Case No. 19-02053)

  Dear Ms. Solomon:

           Pursuant to Rule 12512 of the FINRA Code of Arbitration Procedure (the “Code”), please
  consider this letter a motion by Respondents Evan A. Schottenstein and Avi E. Schottenstein
  (“Respondents”) for the issuance of the enclosed subpoena for the production of documents to Wells
  Fargo Bank, N.A. (“Wells Fargo”). By this subpoena, Respondents seek documents concerning the
  termination of Alexis Schottenstein (“Alexis”) from Wells Fargo over allegations that she enrolled
  clients in online statement delivery without their authorization or approval. Such behavior is strikingly
  similar to what has been alleged by Claimant in this case. The proposed subpoena is attached to this
  motion as Exhibit A.

         In her Statement of Claim Claimant alleges that she was enrolled in electronic delivery of her
  J.P. Morgan Statements without her authorization or approval and that her online statements were
  sent to a fictitious email address (bevschottenstein@aol.com). See Statement of Claim at 10-11
  (“Sometime in the second half of 2016, Evan Schottenstein and/or Avi Schottenstein directed J.P.
  Morgan to stop mailing monthly statements and other written communications to Mrs. Schottenstein
  and to only deliver monthly statements and other written communications related to her Trust
  Account to her at the fictitious email address that had been created for her. . . . Evan Schottenstein
  and Avi Schottenstein knew that their grandmother did not know of the fictitious email address that
  they had created.”) Relevant excerpts from the Statement of Claim are attached to this motion as
  Exhibit B.

          This claim echoes an allegation made six months earlier in Claimant’s January 6, 2019
  “Amendment to My Will and Trust” letter (the “January 6, 2019 Letter”). In the January 6, 2019
  Letter, Claimant alleges she was enrolled in electronic delivery of her J.P. Morgan Statements without
  her permission. See January 6, 2019 Letter at paragraph 1.5 (“Evan created an online Banking access
  without my permission for my previous American Express Account and JP Morgan Account and gave




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  access to his family, and put me on paperless statement.”) A copy of the January 6, 2019 Letter is
  attached as Exhibit C.

          Respondents Evan and Avi Schottenstein deny these allegations of improper and
  unauthorized enrollment of claimant in electronic delivery of her J.P. Morgan account statements.
  They further deny creating the bevschottenstein@aol.com email address or using this address for any
  fraudulent activity against Claimant. This behavior, however, does sound familiar. It sounds like the
  very behavior that led to the termination of Alexis when she worked at Wells Fargo.

           As set forth in Respondent Evan Schottenstein’s Statement of Answer, Alexis is Claimant’s
  granddaughter and Respondents’ cousin. Finding documents that led her to believe her inheritance
  from Claimant was being reduced, Alexis blamed Respondents and became the driving force behind
  this arbitration. As admitted in the Statement of Claim, Alexis downloaded Claimant’s J.P. Morgan
  account statements, reviewed some statements with Claimant, and delivered the January 6, 2019 Letter
  to J.P. Morgan without Claimant’s prior knowledge or authorization. See Statement of Claim (Exhibit
  B) at 12-13; Claimant’s Response to Respondents, Evan A. Schottenstein and Avi E. Schottenstein’s,
  First Request for Production of Documents and Information (“Claimant’s Discovery Response”) at
  RFI Nos. 13-14. Relevant Excerpts from Claimant’s Discovery Response are attached as Exhibit D.
  Respondents believe that Alexis was fired from Wells Fargo for the very same behavior she is helping
  Claimant allege here, namely the enrollment of clients in electronic delivery of account statements
  without their authorization or approval.

          Between 2009 and 2013, Alexis was employed by Wells Fargo in its Largo Mall Branch Office
  in Largo, Florida. One of her job responsibilities at Wells Fargo was to enroll clients in online account
  statement delivery. For a time, it was believed that Alexis was quite good at this job and enrolled
  many Wells Fargo clients in online statement delivery. As time passed, however, numerous customers
  began to complain about having been enrolled in online statement delivery without their knowledge
  or authorization. Following these complaints, it is believed that Wells Fargo terminated Alexis.

          Given the above, Respondents respectfully request the issuance of a subpoena to Wells Fargo
  seeking four categories of documents: (1) customer complaints concerning or involving Alexis, (2)
  documents concerning the reason(s) for her separation or termination from Wells Fargo, (3)
  documents reflecting any investigation conducted into her actions while employed by Wells Fargo,
  and (4) documents concerning the email address bevschottenstein@aol.com, including any documents
  sent to or from that email address.

           Request Nos. 1, 2, and 3 are warranted given the striking similarities between Alexis’s alleged
  actions at Wells Fargo and the allegations made against Respondents in this case. If Alexis was found
  by Wells Fargo to have enrolled customers in online statement delivery without their knowledge or
  authorization, then documents at Wells Fargo will likely contain information about how she did this.
  Did she create fictitious email addresses for customers using some variation of the customers’ names?
  Did she use an email address she already controlled or had access to, such as
  bevschottenstein@aol.com? Or did she somehow break into otherwise valid customer emails and
  then enroll those customers in online statement delivery? Either way, this behavior bears directly on
  Claimant’s claims that a fictitious email was created in her name and provides an additional suspect
  for this behavior other than Respondents Evan and Avi Schottenstein.
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          In addition, while it is possible that that bevschottenstein@aol.com was created by Claimant
  to conduct business for which an email address is required, it is also possible that this address was
  created by Alexis, without Claimant’s knowledge, and in furtherance of her activities at Wells Fargo.
  Request No. 4 explores this possibility by seeking information from Wells Fargo on whether it has
  any record of the bevschottenstein@aol.com email, including whether it was among any of the email
  addresses used by Alexis in enrolling customers in online statement delivery without their knowledge
  or authorization.

           Rule 12512 of the Code authorizes the Panel to issue subpoenas for the production of
  documents or the appearance of witnesses for non-parties such as Wells Fargo Bank, N.A. For the
  foregoing reasons, Respondents respectfully request that the Panel sign the enclosed subpoena and
  return it to Respondents so that they may serve it promptly on Wells Fargo Bank, N.A.

         Thank you for your consideration and attention to this matter.

                                                        Sincerely,


                                                        /s/ Jonathan J. Brennan
                                                        Jonathan J. Brennan



  cc:    Scott C. Ilgenfritz, Esq. (by FINRA Portal)
         Gabrielle L. Gould, Esq. (by FINRA DR Portal)
